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        EXHIBIT A
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                                              CAUSE NO.59528

  SOUTH HAMPTON RESOURCES,INC.                          §                           IN THE DISTRICT COURT
                 Plaintiff,

  V.                                                    §                       356TH JUDICIAL DISTRICT

  TULSA HEATERS.INC.
                Defendant.                              §                           HARDIN COUNTY,TEXAS


               PLAINTIFF SOUTH HAMPTON RESOURCES.INC.'S ORIGINAL PETITION

  TO THE HONORABLE JUDGE OF'SAID COURT:

             COMES NOW, Plaintiff SOETH HAMPTON RESOURCES, INC., and tiles this Original Petition

  against TITS lk HEATERS,INC., and would respectfully show as follows:

                                                       I.
                                            Disco‘Eity-coN IRO] PL. V;

             Plaintiff intends to conduct discovery under Level 2 of Texas Rule of Civil Procedure 19(),3.

                                                         IL
                                                       PARTIES

             Plaintiff SOUTH HAMPTON RESOURCES, IN(.. (-SHR” or -Plaintiffs.). is a Texas Corporation

             k,:ith its principal place of business in Silsbee.. Hardin County, Texas.

             Defendant TULSA HEATERS, INC.(-Tulsa Healers" or "Defendant"), is an Oklahoma corporation

             with a principal address of 1215 S Boulder. Suite 1 100 in Tulsa, Oklahoma 741 19. Tulsa Heaters

             does not maintain a registered agent in Texas, but may be served with process by serving its

             registered agent, Barber & Bartz. a Professional Corporation, 525 S Main St 4800, Tulsa,

             Oklahoma 74103, or wherever else they may he found. CITATION AND SERVICE OF

             PROCESS ARE REQUESTED AT TIIIS TIME.

                                                      III.
                                            JURISDICTION AND VENUE

 4.          The Court has subject-matter jurisdiction over this lawsuit because the amount in controversy

             exceeds this Court's minimum jurisdictional requirements.




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  5,          Venue is permissive in Hardin County. Texas under Texas Civil Practice & Remedies Code

              1 5,0035(a) because this is a suit for breach of a contract and Hardin county is where the contract

              was to be performed. In addition, venue is proper in Hardin County under Texas Civil Practice

              Remedies Code §15,002 because all or a substantial part of the events or omissions occurred in

              Hardin County, Texas.

                                                             IV.
                                                            F.

  6.          On   or   about June 20. 2016. Tulsa Heaters and SHR entered into a contract. w herein Tulsa Heaters

              agreed     to   provide sir t6) new Aromas II Heaters (-the heaters'' or "the heaters at issue") for

              installation at SHR's Silsbee, Texas facility, SHR paid Tulsa Heaters 52,271,400.00 for the

             heaters.

  7.         Before placing the heaters into service, SHR performed a cleaning procedure as part of the metal

             protection treatment I-NI        vr) that   involved acid i..tishing, the process coils in the heaters.

             Numerous leaks were observed during this cleaning procedure.. SHR specifically contracted with

             Tulsa Heaters to provide heaters that could undergo the MPT. Had SHR placed the heaters into

             service in their as-built condition, it is ver.y likely that a significant lire or explosion would have

             occurred due        to   the numerous defective welds which would have allowed hydrocarbons from

             i nside the heater tubes to leak into the flame side of the heaters.

 8.          STIR submitted samples of the leaking coils to a third-party consultant. Mistras Group, Lab #565,

             to determine the cause of the leaks. In its October 27, 2017 report. Mistras Group concluded,

             a mong other factors, that the leaks and resulting corrosion damages were the result of a -localized

             alloy dilution associated with tack-welds executed using an improper consumable." In other

             words, Tulsa Heaters tack-welded the heater tubes using incorrect weld material.

 7.          SHR has incurred numerous costs and expenses as a result of the heaters' defective .veldt and

             Tulsa Heaters' use of improper consumahles, in addition to significant delay damages and lost




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                                                                                                                          Juke Theal




   1 0.      profits from being unable to start-up the heaters at issue as originally scheduled. SHR incurred

             t he following costs and expenses, all of which were reasonable and necessary, and caused directly

             by Tulsa Heaters' breach of contract and breach of warranty:

             a. Expenses related to the MPT process for the heaters after weld repairs were made:

             b. Expenses from having personnel and equipment remain on-site longer than originally
                intended. making the area safe for personnel to enter. inspecting and making repairs.
                and redesigning faulty connections:

             c. Costs of installing scaffolding inside the heaters to facilitate the weld inspection and
                repair;

             d. Expenses related to removing lhe heaters' manifolds for inspection and repair and
                removing piping sections for metallurgical testing: and

            e.   Expenses related to inspection of welds made by Tulsa Heaters and x-raving weld
                 repairs performed by Tulsa Heaters and its subcontractor.

  1 1.      SHR provided written notice and demand of its claim under the contract to Tulsa Heaters on \day

                 /018. To date, SHR has not been reimbursed for the costs anti expenses it incurred as a result

            of Tulsa Heaters' breach of contract and breach of warranty.

                                                         V.
                                       CO.UNI I — BREACH OF CONTRACT

  1 2.      SHR incoiporales the foregoing paragraphs.

  1 3.      SHR and Tulsa Heaters entered into a valid and enforceable written contract, wherein Tulsa

            Heaters k.reed to provide the heaters at issue in accordance with the specifications provided by

            SIIR.

 1 4.       Tulsa Heaters provided heaters with numerous defecti e welds which resulted in leaks that

            rendered the heaters at issue useless and dangerous. Tulsa Heaters' failure to abide 11) the terms

            of the parties' agreement constitutes a material breach of contract.

 1 5.       To date. SHR has been injured and damaged as a result of Tulsa Heaters' breach in the amount of

            at least 5750,000.00. SHR is also entitled to recover reasonable and necessary attorneys' fees

            pursuant to Texas Civil Practice & Remedies Code Chapter 38 and the contract, as well as costs




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                at court and pre and post judgment interest. SHR retained counsel and presented its claim to

                Tulsa Heaters. which was not paid within thirty (30i days of when the claim was presented.

                                                            VI.
                                          COUNT 2 — BREACH OF WARRANTY

   1 6.        SHR incorporates the foregoinil paragraphs.

   1 7.        SIIR and Tulsa Heaters entered into a valid and enforceable written contract, wherein Tulsa

               Heaters wan-anted that the heaters would be free from defects and would he built in accordance

               with the specifications provided by SIIR.

  18.          Tulsa Heaters breached that warranty by providing heaters with defectiN e welds. which resulted

               in numerous leaks that rendered the heaters at issue useless and dangerous.

  1 9.         As a result of Tulsa Heaters' breach of warranty. SHR has incurred damages in an amount of at

               cast 5750,000.00.

                                                        "II.
                                                    ATTORNEY FEES

 20.           SHR is entitled to re-cover reasonable and necessary attorney fees under Texas Civil Practice and

               Remedios Code Chapter 38 and the contract because this is a suit for breach of a written contract.

                                                           VIII.
                                               CONDITIONS PRECEDENT

 21.           All conditions precedent to SHRss claim for relief have been performed or have occurred.

                                                           Ix.
                                                    J URY DEMAND

 22.          SIIR demands a jury trial and tenders the appropriate fee with this Original Petition.

                                                           1.
                                             REQUEST FOR     DISCLOSURE

 23.          Under Texas Rule of Civil Procedure 194. SHR requests that Tulsa Heaters disclose. within fift

              (50) days of the service of this request. the information or material described in Rule 194.2_




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                                                         PRAYER

             WHEREFORE, PREMISES CONSIDERED, Plaintiff SOUTH HAMPTON RESOURCES, INC. asks

  this Court to issue citation for Defendant Tulsa Heaters, Inc. to appear and answ er, and that SHR be

  awarded a judgment it aiiist Tulsa Healers for its actual damages. court costs, attorney ices and all other

  relief to which it is legally or equitably entitled.

                                                           Respectfully submitted.

                                                           GERMER PLLC

                                                           B y: /Is/ Charie.%   Gochringer, Jr.
                                                                Charles W. Goehrinaer. Jr.
                                                                Sint,: Bar No. 00793S l 7
                                                                c wizoehrinzerqr airmer.COM
                                                                Hunter S. Davidson
                                                                State Bar No. 24097573
                                                                lada‘idson@zermer.coni
                                                               Post Office Box 4915
                                                                Beaumont. TX 77704-4915
                                                              (409)654-6700 — Telephone
                                                              (409) S35-2115 — Facsimile

                                                              ATTORNEYS FOR PLAINTIFF
                                                              SOUTH HAMPTON RESOURCES.INC.




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                                                   CIVIL CITATION
                                                 THE STATE OF TEXAS
                                                       CAUSE NO: 59528
 SOUTH HAMPTON RESOURCES. INC.                                       356TH JUDICIAL DISTRICT COURT
 VS.
 TULSA HEATERS. INC.                                                 COUNTY Of HARDIN

NOTICE TO DEFENDANT: "You have been sued. You uiv employ an attorney. If you or your attorney do notfile a written
ansrver with the clerk who issued this citation by 10:00 Alt. on the Monday nextfallowing the expiration 0_1'20 days lifter you
were served this citation and petition, a Default Judgment may be taken against you."

 TO: TULSA HEATERS,INC., REGISTERED AGENT BARBER & BARTZ, A PROFESSIONAL
     CORPORATION
     525 S. MAIN STREET, SUITE 800
     TULSA. OK 74103

Defendant, in the hereinafter staled and numbered cause: 59528

You are hereby commanded to appear before 35611 H JUDICIAL DISTRICT COUR C of HARDIN COUNTY. TEXAS to be held at
the courthouse located at 300 Monroe St. of said County in the City of Kountze . Hardin Count:. Texas. by filli , a written answer
to the Plaintiff s Ori2inal Petition at or before 10:00 A.m. of the Monday next after the expiration of 20 da\ s after the date of
service hereof. a copy of which accompanies this citation. in cause number 59528 stx led:

                                          SOUTH HAMPTON RESOURCES,INC.
                                                       VS.
                                               TULSA HEATERS, INC.

Said Petition was filed in said court on 31st da, of July. 2018 by CHARLES W. GOEHRINGF.R JR.. Attorney for Plaintiff, whose
address is P 0 BOX 4015 . BEA UMONFF. TX 77704.

 ISSUED A ND GIVEN UNDER It'll'' HAND AND SEAL OF SAID COURT AT KOUNTZE. 1EXAS. ON THIS THE 31st day
of July, 201 S.
                                                                 Dana Hogg
                                                                 District Clerk
                                                                 Hardin County, Texas
                                                                 P.O. Box 2997
                                                                 Ko ntze. TX 77t 5

                                                               13v
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                                       OFFICER'S CERTIFIED MAIL RETURN

Came to hand on the 31 ST        day of f1.1 1_ Y,20 18_ at 02:26 o'clock _P_M. and executed at 03:15             o'clock _PM
on the    31ST      day of JULY 20 18 . by mailing to the within named _TL:LSA HEATERS. NC.. REGISTERED
AGENTNI BARBER S.: BARTZ. A PROFESSIONAL CORPORATION__ certified m ail. return receipt requested \\ ith restricted
delivery a true copy of this citation touther with an attached copy of Plaintiff's Petition to the following address:

 525 S. MAIN SF. SUITE 800. TULSA, OK, 74103_

USPS#: 97 7199 9991 7039 6891 3701

Service upon the Defendant is evidenced by the return receipt hereto attached and signed h

                                                  and dated: _

[ ]This Citation \\ as not executed for the following reason:

TO CERTIFY WHICH WITNESS MY HAND OFFICIALLY.




 Fee$                                                                              District Clerk Officer; Sheriff
                                                                                        Hardin County. Texas

                                                                                                                     Deputy
